Case 2:90-cv-00520-KJM-SCR Document 1302 Filed 09/20/01 Pagei1of5

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CLERK, U.S. DISTRICT COUPT
EASTERN DISTRICT OF CALIFCANIA

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

RALPH COLEMAN, et al.,

Plaintiffs, No. CIV 8-90-0520 LKK JFM P

VS.

GRAY DAVIS, et al.,

Defendants. ORDER

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The matter of payment of the special master has been referred to this court by the
district court. The court has reviewed the bill for services provided by the special master in the
above-captioned case through the month of August 2001.

Good cause appearing, IT IS HEREBY ORDERED that:

1. The Clerk of the Court is directed to pay to

J. Michael Keating, Jr.,

Little, Bulman, Medeiros & Whitney, P.C.

72 Pine Street

Providence, Rhode Island 02903

the amount of $175,322.24 in accordance with the attached statement; and

2. A copy of this order shall be served on the financial department of this court.

ptED Ak ¢ Cae JUDGE

DATED: September /f , 2001.

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

RALPH COLEMAN, et al.,
Plaintiffs,

v. : No. Civ. S-90-0520 LKK JFM P

PETE WILSON, et al.,
Defendants

The Special Master hereby submits his latest statement for fees and
disbursements, including those accrued through August 31, 2001.

J. Michael Keating, Jr., Master

Services $ 24,381.00
Disbursements 853.93
Total amount due $ 25,234.93

Norma P. D’Apolito, J.D.

Services $§ 23,764.00
Disbursements $ -0-
Total amount due $ 23,764.00
Matthew A. Lopes, Jr., J.D.
Services § 14,925.00
Disbursements 11,905.83
Total amount due $ 26,830.83
Paul Nicoll, M.A.P.A.
Services $ 13,915.00
Disbursements 0
Total amount due $ 13,915.00
Kerry C. Hughes, M.D.
Services $ 6,550.00
Disbursements 1,942.23
Total amount due $ 8,492.23
Kory Knapke, M.D.
Services S$ 4,962.50
Disbursements 725.45
Total amount due $ 5,687.95
Barbara Cotton
Services $ 520.00
Disbursements $ -0-

Total amount due $ 520.00
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Dennis F. Koson, M.D.

Services $ 7,637.50
Disbursements § 2,414.44
Total amount due $ 10,051.94

Raymond F. Patterson, M.D., P.C.

Services $ 1,987.50
Disbursements $ 145.50
Total amount due $ 2,133.00

Donna Brorby, J.D.

Services $ 11,505.00
Disbursements $ 594.22
Total amount due $ 12,099.22
Jeffrey L. Metzner, M.D.
Services $ 4,475.00
Disbursements $ 1,275.09
Total amount due $ 5,750.09
Melissa G. Warren, Ph.D.
Services S$ 22,650.00
Disbursements $ 2,790.88
Total amount due $ 25,440.88
Patricia Murphy Williams, J.D.
Services $ 7,152.50
Disbursements $ 965.32
Total amount due $ 8,117.82
Virigia L. Morrison
Services $ 6,879.50
Disbursements $ 404.85
Total amount due $ 7,284.35
TOTAL AMOUNT TO BE REIMBURSED $175,322.24

Receipts for justification of reported expenditures are available upon
request.

Respectfully submitted,

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J. Michael Keating, Jr.
Special Master
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United States District Court
for the
Eastern District of California
September 20, 2001

* * CERTIFICATE OF SERVICE * *
2:90-cv-00520

Coleman
Vv.

Reagan

I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Eastern District of California.

That on September 20, 2001, I SERVED a true and correct copy(ies) of

the attached, by placing said copy(ies) in a postage paid envelope
addressed to the person(s) hereinafter listed, by depositing said
envelope in the U.S. Mail, by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk’s office, or, pursuant to prior
authorization by counsel, via facsimile.

Donald Specter CF/JFM
Prison Law Office
General Delivery CFS

San Quentin, CA 94964

Michael W Bien

Rosen Bien and Asaro

155 Montgomery Street
Eighth Floor

San Francisco, CA 94104

Rochelle Corinne Holzmann
Attorney General’s Office

455 Golden Gate Avenue

Suite 11000

San Francisco, CA 94102-3664

J Michael Keating Ur
Little Bulman and Whitney
72 Pine Street
Providence, RI 02903
Case 2:90-cv-00520-KJM-SCR

Edmund F Brennan
United States Attorney
501 I Street

Suite 10-100
Sacramento, CA 95814

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Jack L. Wagner, Clerk

BY:
Deputy Clerk
